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  Name and address:
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                                        UNITED STATES DISTRICT COURT
                                       CENTRAL DISTRICT OF CALIFORNIA
Travelers Commercial Insurance Company, a                     CASE NUMBER:

Connecticut Corporation                                                        2:21-cv-05832-GW-PD
                                               PLAINTIFF(S)
                              v.

New York Maine and General Insurance Company, a                          REQUEST FOR APPROVAL OF
Delaware Corporation                                                   SUBSTITUTION OR WITHDRAWAL
                                             DEFENDANT(S)                       OF COUNSEL

                                                  INSTRUCTIONS
Generally, an attorney may withdraw from representing a party in a case without the Court's permission if another
member of the attorney's firm or agency will continue to represent that party and the withdrawing attorney is not the
only member in good standing of the Bar of this Court representing that party. In that circumstance, the withdrawing
attorney should complete and file a “Notice of Appearance or Withdrawal of Counsel” (Form G-123), instead of this
“Request for Approval of Substitution or Withdrawal of Counsel” (Form G-01).
Notably, however, Court permission for withdrawal or substitution is required if no member of the withdrawing
attorney's firm or agency will remain as counsel of record. In such circumstances, the attorney(s) seeking to withdraw
should complete and file this "Request for Approval of Substitution or Withdrawal of Counsel" (Form G-01), and submit
a proposed "Order on Request for Approval of Substitution or Withdrawal of Counsel" (Form G-01 Order).
If the circumstances surrounding an attorney's withdrawal or request to substitute other counsel are not covered by this
Form G-01, the attorney may instead file a regularly noticed motion supported by a more detailed memorandum of
points and authorities.
SECTION I - WITHDRAWING ATTORNEY
Please complete the following information for the attorney seeking to withdraw (provide the information as it currently
appears on the docket; if the attorney appeared pro hac vice, enter "PHV" in the field for "CA Bar Number"):

Name: Nicholas J. Boos                                                        CA Bar Number: 233399
Firm or agency: Maynard Nexsen LLP

Address: Two Embarcadero Center, Suite 1450, San Francisco, CA 94111

Telephone Number: 415-646-4700                                  Fax Number:     205-254-1999
E-mail: nboos@maynardnexsen.com
Counsel of record for the following party or parties: Travelers Commercial Insurance Company




Other members of the same firm or agency also seeking to withdraw:



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SECTION II - NEW REPRESENTATION

        No new counsel is necessary. The party or parties represented by the attorney(s) seeking to withdraw will continue
        to be represented by another attorney/firm who has already entered an appearance as counsel of record for that
        party or parties in this case, and who is a member in good standing of the Bar of this Court.
        The party or parties represented by the attorney(s) seeking to withdraw have not retained new counsel and wish to
        proceed pro se, as self-represented litigants.

        The party or parties represented by the attorney(s) seeking to withdraw have retained the following new counsel,
        who is a member in good standing of the Bar of this Court:

         Name: John T. Brooks                                                             CA Bar Number: 167793
         Firm or agency: Sheppard, Mullin, Richter & Hampton LLP

         Address: 501 W. Broadway, 19th Floor

         Telephone Number: 619-338-6500                                  Fax Number: 619-234-3815
         E-mail: jbrooks@sheppardmullin.com


SECTION III - SIGNATURES

Withdrawing Attorney
I am currently counsel of record in this case, and am identified above in Section I as the "Withdrawing Attorney." I have
given notice as required by Local Rule 83-2.3. I hereby request that I and any other attorney(s) listed in Section I be
allowed to withdraw from this case.

                                                                    /s/ Nicholas J. Boos
      Date: May 23, 2023                             Signature:

                                                     Name:         Nicholas J. Boos

New Attorney (if applicable)
I have been retained to appear as counsel of record in this case, and my name and contact information are given above in
Section II. I am a member in good standing of the Bar of this Court.


      Date: May                                      Signature:

                                                     Name:         John T. Brooks

Party Represented by Withdrawing Attorney
I am currently represented by, or am an authorized representative of a party currently represented by, the Withdrawing
Attorney listed above. I consent to the withdrawal of my current counsel, and to (check if applicable):
                                            substitution of counsel as specified above.
                                            representing myself pro se in this case.


      Date: May                                      Signature:

                                                     Name:         Amy J. Woodworth

                                                     Title:        Senior Counsel

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